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 12
                        UNITED STATES DISTRICT COURT
 13                    CENTRAL DISTRICT OF CALIFORNIA
 14
      Bureau of Consumer Financial Protection, )       Case No.: 8-20-cv-00043-JVS-ADS
 15                                            )
                       Plaintiff,              )       PLAINTIFF’S SURREPLY
 16                                            )       ADDRESSING DEFENDANT
                  vs.                          )       JAWAD NESHEIWAT’S MOTION
 17                                            )       TO DISMISS AND FOR
      Chou Team Realty, LLC, et al.,           )       JUDGMENT ON THE PLEADINGS
 18                                            )
                       Defendants.             )
 19                                            )       Honorable James V. Selna
                                               )       United States District Judge
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  1         The Court should deny Defendant Jawad Nesheiwat’s motion to dismiss
  2   and for judgment on the pleadings for the reasons the Bureau has already
  3   explained in its opposition to that motion. See ECF No. 127. The Bureau files
  4   this surreply by leave of the Court, ECF No. 137, to address two requests for
  5   additional relief that Defendant raised for the first time in his reply in support of
  6   his motion, ECF No. 129.
  7         Specifically, Defendant asks the Court (1) to stay this proceeding
  8   pending the Ninth Circuit’s resolution of CFPB v. Seila Law, LLC, No. 17-
  9   56324 (9th Cir.), and (2) to strike the declaration by the Bureau’s Director
 10   ratifying this action. The Court should deny both requests as having been
 11   improperly raised in a reply rather than by motion. Cf. Fed. R. Civ. P. 7(b)(1)
 12   (“A request for a court order must be made by motion.”). In the alternative, the
 13   Court should deny them on the merits.
 14   I.    There Is No Cause to Stay This Case
 15         “A district court has discretionary power to stay proceedings in its own
 16   court.” Lockyer v. Mirant Corp., 398 F.3d 1098, 1109 (9th Cir. 2005). Among
 17   the factors that courts weigh in deciding whether to issue a stay are: “[1] the
 18   possible damage which may result from the granting of a stay, [2] the hardship
 19   or inequity which a party may suffer in being required to go forward, and
 20   [3] the orderly course of justice measured in terms of the simplifying or
 21   complicating of issues, proof, and questions of law.” Id. at 1110. The moving
 22   party “must make out a clear case of hardship or inequity” from being denied a
 23   stay “if there is even a fair possibility that the stay for which he prays will work
 24   damage to some one else.” Landis v. North Am. Co., 299 U.S. 248, 255 (1936).
 25         A stay is not warranted here because it would hurt the public interest and
 26   the Bureau’s interests, Defendant will suffer no “hardship or inequity” if the
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  1   Court denies the stay, and a stay would not promote judicial economy or the
  2   orderly course of justice.
  3      A. Halting All Proceedings in This Case for Months Would Harm the
  4         Bureau and the Public Interest
  5         The Bureau is the primary enforcer of federal consumer financial laws.
  6   See, e.g., 12 U.S.C. § 5511(a). Its amended complaint in this case alleges
  7   serious violations of those laws, including flagrant violations of the Fair Credit
  8   Reporting Act undertaken in order to enable the deceptive marketing of student
  9   loan debt relief services that charged consumers millions of dollars in illegal
 10   fees. As the Bureau has previously noted, Defendant Nesheiwat was at the
 11   center of the alleged misconduct, overseeing Monster Loans’ unlawful
 12   purchases of consumer reports and participating in and assisting the debt-relief
 13   companies’ deceptive marketing and charging of unlawful advance fees.
 14   See ECF No. 77 at 1-3. Indeed, Defendant himself has acknowledged the
 15   seriousness of the Bureau’s allegations by comparing them to criminal wire
 16   fraud. See ECF No. 79 at 3. And the Bureau’s Director, by ratifying this case,
 17   has confirmed that it should be pursued.
 18         Halting all proceedings in this case for the several months it may take for
 19   a decision by the Ninth Circuit in Seila Law would harm both the Bureau’s
 20   interests and the public interest. It can hardly be doubted that “the public has a
 21   strong interest in vigorous enforcement of consumer protection laws.” John Doe
 22   Co. v. CFPB, 235 F. Supp. 3d 194, 205 (D.D.C. 2017), aff’d, 849 F.3d 1129
 23   (D.C. Cir.). More particularly, both the Bureau and consumers have a strong
 24   interest in discovery continuing to move forward in this case so that the relevant
 25   facts can be assembled while evidence remains fresh and, ultimately, so that the
 26   matter may reach final resolution expeditiously.
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  1         The stay sought by Defendant would harm these important interests. It
  2   would mean more time in which Defendant is not subject to the injunctive relief
  3   that the Bureau seeks. It would mean more time in which Defendant’s assets
  4   may be depleted. And it would mean consumers would have to wait longer for
  5   any redress they may entitled to receive if and when the Court enters judgment
  6   in the Bureau’s favor. Moreover, because delay “inherently increases the risk
  7   that witnesses’ memories will fade and evidence will become stale,” Blue Cross
  8   & Blue Shield of Ala. v. Unity Outpatient Surgery Ctr., 490 F.3d 718, 724 (9th
  9   Cir. 2007) (internal quotations omitted), a stay could make it harder down the
 10   road for the Bureau to secure any relief for consumers. See also Kesler v. IKEA
 11   U.S., Inc., No. 8:07-cv-00568-JVS, 2008 WL 11339118, at *1 (C.D. Cal. Jan. 2,
 12   2008) (recognizing that a stay could harm the plaintiff’s interest in preserving
 13   evidence essential to her case).
 14      B. Defendant Has Not Shown a “Clear Case of Hardship or Inequity” If
 15         He Is Denied a Stay
 16         Because there is, at minimum, a “fair possibility” that the stay Defendant
 17   Nesheiwat seeks “will work damage to some one else,” Defendant bears the
 18   burden to “make out a clear case of hardship or inequity” if he is denied a stay.
 19   Landis, 299 U.S. at 255. Defendant has not done so, or even tried to. His filing
 20   makes no mention of this factor and offers no explanation why he would be
 21   harmed by this case continuing to move forward in the ordinary course.
 22         The most that Defendant could possibly hope to show is that, if the Court
 23   denies his request for a stay, he will have to continue with this suit. But that will
 24   always be the case when a party is denied a stay. Accordingly, the Ninth Circuit
 25   has held that “being required to defend a suit, without more, does not constitute
 26   a ‘clear case of hardship or inequity’ within the meaning of Landis.” Lockyer,
 27   398 F.3d at 1112; see also Kesler, 2008 WL 11339118, at *1 (“The mere fact
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  1   that, if the Court denies a stay, a party would be forced to defend itself in an
  2   action does not … amount to a sufficient showing of hardship.”). Defendant
  3   thus has not met his burden to justify a stay.
  4      C. A Stay Is Unlikely to Serve the Interest of Judicial Efficiency
  5         Defendant Nesheiwat asks this Court to halt all proceedings, in the
  6   middle of ongoing fact discovery, to await the Ninth Circuit’s decision in Seila
  7   Law, in which the court of appeals has ordered briefing on whether the civil
  8   investigative demand (CID) in that case was validly ratified. Judicial efficiency,
  9   and “the orderly course of justice” more generally, would not be served by
 10   doing so. See Lockyer, 398 F.3d at 1110.
 11         First, there is no need to wait for the Ninth Circuit’s ruling with respect
 12   to the CID in Seila Law because existing Circuit precedent already forecloses
 13   Defendant’s argument in this case that the Court lacks jurisdiction. See CFPB v.
 14   Gordon, 819 F.3d 1179 (9th Cir. 2016); see also Opp’n at 3-4. Further, there is
 15   no need to wait for the Ninth Circuit’s ruling to reject Defendant’s plain
 16   misreading of the Supreme Court’s decision in Seila Law, which did not hold or
 17   suggest that the “office of the director” itself is “unconstitutionally structured.”
 18   Reply at 2 & n.1. Rather, as the Bureau has explained, the Court’s decision
 19   made clear that the Bureau may continue to operate, led by a Director
 20   removable at will. See Opp’n at 8.
 21         The fact that the Ninth Circuit has invited supplemental briefing in Seila
 22   Law that will address the “case-specific factual and legal questions” about the
 23   CID at issue there—including “whether th[e] alleged ratification in fact
 24   occurred”—hardly signals that the Ninth Circuit intends to revisit its existing
 25   precedent on ratification. See Seila Law LLC v. CFPB, 140 S. Ct. 2183, 2208
 26   (2020) (Roberts, C.J.). The same factual circumstances are not present in this
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  1   case—where, for example, there can be no reasonable dispute that the
  2   ratification has in fact occurred.
  3         And there is even less reason to think the Ninth Circuit’s resolution of
  4   Seila Law will call into question the Bureau’s ability to proceed with this suit
  5   because here, unlike in Seila Law, Defendant is seeking to challenge a new
  6   operative pleading that the Bureau filed after the Supreme Court resolved the
  7   constitutional problem. See Opp’n at 5-6. Thus, Defendant’s request for a stay
  8   is based on a number of highly “speculative conditions,” including that the
  9   Ninth Circuit will seek to revisit its own recent precedent in Gordon, that do not
 10   suffice to justify a stay, particularly one that would harm the public interest.
 11   Kesler, 2008 WL 11339118, at *2.
 12         Second, staying this case now, while the parties (including other
 13   defendants who have not themselves sought a stay of these proceedings) are in
 14   the middle of fact discovery would be particularly disruptive to the orderly
 15   course of justice. As noted above, the Bureau and the public interest would be
 16   harmed by a decision cutting short the process of gathering facts relevant to
 17   defendants’ violations of law. There is no reason the Court need do so now,
 18   when it can instead allow this action to continue moving forward in the ordinary
 19   course, and apply the Ninth Circuit’s decision in Seila Law, as appropriate,
 20   when it is decided.
 21   II.   There Is No Cause to Strike the Bureau Director’s Declaration
 22         Defendant Nesheiwat’s request that the Court strike the sworn
 23   declaration of the Bureau’s Director ratifying this action is meritless. See ECF
 24   No. 127-1. That declaration establishes that Director Kraninger considered the
 25   basis for the Bureau’s decision to file this suit and ratified that decision on
 26   behalf of the Bureau. As the Bureau has explained, her affirmation, after
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  1   becoming removable at will, that this case should go forward cures any initial
  2   Article II defect owing to the invalid removal provision. See Opp’n at 6-10.
  3         Defendant has identified no defect in the form or substance of the
  4   declaration itself. Instead, his sole argument for striking it is that the Bureau
  5   was statutorily required to publish the ratification in the Federal Register. See
  6   Reply at 5.
  7         But no such requirement exists, and the provisions Defendant cites are
  8   not to the contrary. Those provisions generally require the publication of three
  9   categories of documents: (1) “Presidential proclamations and Executive orders,”
 10   (2) documents “that the President may determine from time to time have
 11   general applicability and legal effect,” and (3) documents that Congress has
 12   elsewhere determined must appear in the Federal Register. 44 U.S.C. § 1505(a).
 13   The declaration does not fall within any of these categories.
 14         Nor would it be of any help Defendant to if it did, because the other
 15   provision on which he relies simply provides that a document of a type
 16   described in § 1505(a) “is not valid as against a person who has not had actual
 17   knowledge of it.” Id. § 1507. Defendant clearly has actual knowledge of the
 18   declaration he seeks to strike. Thus, even if the Bureau were required to publish
 19   the declaration in the Federal Register, which it was not, that would provide no
 20   grounds for the Court to strike the declaration or otherwise decline to consider
 21   its contents.
 22                                    CONCLUSION
 23         For all of these reasons, and those previously presented in the Bureau’s
 24   opposition, the Court should deny Defendant motion to dismiss and for
 25   judgment on the pleadings, as well as his requests for a stay and to strike
 26   Director Kraninger’s declaration of ratification.
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  1   Dated August 19, 2020                   Respectfully Submitted,
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